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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ANTHONY C. CHRIST, et al.,                      *

                                                *
       Plaintiffs,                                              Civil Action No. RDB-15-3305
                                                *
       v.
                                                *
TOWN OF OCEAN CITY,
 MARYLAND,                                      *

       Defendant.                               *

*       *       *       *       *      *  *   *    *   *                        *       *       *
                                    MEMORANDUM OPINION

       On May 9, 2018, this Court held that various provisions of the Defendant Town of

Ocean City, Maryland’s Ordinance governing performers and performing on the Ocean City

boardwalk were facially unconstitutional in violation of the First Amendment to the United

States Constitution and Article 40 of the Maryland Declaration of Rights. (ECF Nos. 88, 89.)

Currently pending before this Court is the Plaintiffs’ Anthony Christ, Jim Starck, Bill

Campion, Sr., Don Bloom, Joseph Smith, Mike Moeller, Alexandra Dawson, Anthony

Button, Alex Young and Mark Chase’s Motion for Judgment. (ECF No. 106.) The parties’

submissions have been reviewed, and no hearing is necessary. See Local Rule 105.6 (D. Md.

2018). For the following reasons, Plaintiffs’ Motion for Judgment (ECF No. 106) is

GRANTED.1 Accordingly, compensatory damages are entered in the amount of $200.00




1 Also pending are two Motions. First, the parties’ Consent Motion for Extension of time for Moving for
Fees and Costs (ECF No. 96), which is GRANTED. Second, the Plaintiffs’ Motion for Leave to file Surreply
(ECF No. 109), which is MOOT because this Court grants the Plaintiffs’ Motion for Judgment.
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with respect to the Plaintiff Christ, and $100.00 to each of the remaining Plaintiffs with the

exception of the now pro se Plaintiff Ion Lucian Constantin Ionescu.2

                                           BACKGROUND

        As explained in more detail in this Court’s prior Memorandum Opinion, Christ v.

Town of Ocean City, Maryland, 312 F. Supp. 3d 465 (D. Md. 2018), in 2015 the Town of Ocean

City, Maryland enacted a set of regulations governing where, how, and when individuals may

perform on certain areas of the Ocean City boardwalk (the “Ordinance”). Generally, the

Ordinance designated thirty-three spaces as the only areas performers could occupy between

South First Street and Ninth Street. In order to occupy one of these spaces between May 15

and September 15, performers were required to engage in a lottery and selection system at

the beginning of every week. The Ordinance also contained various other restrictions

including a time restriction that applied to the entire boardwalk, banning performing on the

boardwalk between 1:00 a.m. and 10:00 a.m.

        On October 29, 2015, the Plaintiffs, at the time six pro se individuals,3 initiated this

action challenging many of the Ordinance’s provisions as unconstitutional under the First

Amendment to the United States Constitution and Article 40 of the Maryland Declaration of

Rights. (Compl., ECF No. 1.) Over the course of the litigation, additional Plaintiffs joined

the action and ultimately the Plaintiffs, with counsel, filed a Fourth Amended Complaint.

(ECF No. 73.) The Plaintiffs consisted of eleven street performers who perform or had

performed on the Ocean City boardwalk, including a puppeteer, balloon artist, magician and

2 As explained below, the Plaintiff Ionescu is now proceeding pro se and the Defendant has filed a Motion to
Compel as to Interrogatories and Requests for Production of Documents propounded to Ionescu.
Accordingly, a damages award is not entered at this time in his favor.
3 Around eight months later, Plaintiffs gained representation and counsel entered an appearance on their

behalf on June 22, 2016. (ECF No. 36.)
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ventriloquist, artists and musicians. These Plaintiffs asserted that the registration

requirement, time, place, and manner restrictions, and other advertising restrictions imposed

an unlawful prior restraint on speech. For example, many of the Plaintiffs testified that prior

to the Ordinance’s designated spaces regime, they would walk up and down the boardwalk

performing their acts to audiences of various sizes. Relatedly, some Plaintiffs testified that

they were limited by the small size of the designated spaces and 1:00 a.m. to 10:00 a.m.

prohibition. The parties filed Cross-Motions for Summary Judgment, and this Court held a

hearing on April 17, 2018. (ECF Nos. 78, 79, 87.) On May 9, 2018, this Court granted in part

and denied in part both motions. (ECF Nos. 88, 89; Christ v. Town of Ocean City, Maryland, 312

F. Supp. 3d 465 (D. Md. 2018).)

       Of relevance here, this Court held that several of the challenged regulations as they

applied to “performers” and “performing” were facially unconstitutional, and this Court

permanently enjoined Ocean City from enforcing the restrictions which, as enacted: required

all performers wishing to perform between and including First South Street and Ninth Street

to register for a designated area beginning one week ahead of time; required performers in

the same stretch of the boardwalk to only occupy one of those designated areas and various

related restrictions; banned performing before 10:00 a.m. on the entire boardwalk; and

prohibited signage or advertising on umbrellas utilized by performers.

       After ruling on the Cross-Motions for Summary Judgment, this Court permitted a

period of discovery to determine damages. During this time, counsel for the Plaintiffs filed a

Motion to Withdraw Appearance on behalf of one of the Plaintiffs, Ion Lucian Constantin

Ionescu, citing irreconcilable differences with respect to damages sought. (ECF No. 103.)


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This Court granted the Motion.4 (ECF No. 104.) Subsequently, the represented ten Plaintiffs

filed the currently pending Motion for Judgment, seeking compensatory damages on behalf

of one Plaintiff and nominal damages on behalf of the remaining nine Plaintiffs. (ECF No.

106.)

                                             ANALYSIS

        I.      Compensatory Damages – Plaintiff Anthony Christ

        The Plaintiff Anthony Christ seeks $200.00 in compensatory damages stemming from

a citation he was issued on the boardwalk while the Ordinance was in effect on September 5,

2015. (Pls.’ Mot., ECF No. 106 at ¶ 5.) On that date, Plaintiff Christ informed a police

officer that, although he had not previously registered for a designated space, he was going

to perform by singing in one of the unoccupied designated spaces. (Christ Aff., ECF No. 79-

16 at ¶¶ 5-7.) He thereafter began singing the National Anthem. (Id. at ¶ 7.) The same police

officer then approached Plaintiff Christ and told him that if he sang another song he would

be issued a citation. (Id.) When Plaintiff Christ began singing another song, he received a

$200.00 citation for violating the Ordinance. (Id. at ¶ 8.) Given this Court’s rulings that the

registration and designated space requirements were facially unconstitutional, Plaintiff Christ

seeks $200.00 in compensatory damages.

        Compensatory damages are appropriate in instances of constitutional violations so

long as the injury resulted from the constitutional violation and is sufficiently proven. Price v.

City of Charlotte, N.C., 93 F.3d 1241, 1248 (4th Cir. 1996). The Defendant opposes the award


4 Currently pending is the Defendant’s Motion to Compel as to Interrogatories and Requests for Production
of Documents propounded to the pro se Plaintiff Ionescu. (ECF No. 107.) This Motion will be addressed
separately.
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of compensatory damages on the ground that there is no “supporting proof” that Christ

received the citation, and asserts that Christ did not respond to the Defendant’s discovery

request concerning his damages. (Def.’s Opp., ECF No. 108-1 at 6-7.) The Defendant does

not otherwise challenge the claimed compensatory damages by arguing, for example, that the

citation was issued for any other reason. In response, the Plaintiff directs this Court to the

affidavit he submitted in conjunction with the Plaintiffs’ previous Motion for Summary

Judgment and asserts that Ocean City produced records of the citation during discovery on

July 6, 2017. (Pls.’ Resp., ECF No. 109 at ¶ 2.) Moreover, if necessary, Christ offers to file a

Surreply including the record of the citation. (ECF No. 109.)

        At no time during the summary judgment stage of these proceedings did the

Defendant challenge or otherwise dispute that Plaintiff Christ received a citation for

violating the Ordinance on September 5, 2015. Although the Plaintiff Christ now offers to

file a Surreply physically attaching the citation as an exhibit, his unchallenged affidavit is

sufficient to support that he sustained actual damages of $200.00 due to the enforcement of

the Ordinance against him, and he is entitled to compensatory damages in that amount.

        II.     Nominal Damages – Plaintiffs Jim Starck, Bill Campion, Sr., Don
                Bloom, Joseph Smith, Mike Moeller, Alexandra Dawson, Anthony
                Button, Alex Young and Mark Chase

        The remaining Plaintiffs, with the exception of Ionescu, filed a Motion for Judgment

seeking nominal damages.5 (Pls.’ Mot., ECF No. 106.) When a plaintiff’s civil rights have

been violated but no compensatory damages have been proven, nominal damages are


5 Although the Defendant asserts in its Response to the Motion for Judgment that all of the Plaintiffs,
including the ten moving Plaintiffs, have not responded to discovery requests, the Defendant has only filed a
Motion to Compel with respect to Plaintiff Ionescu.
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appropriate. Tepeyac v. Montgomery Cty., 5 F. Supp. 3d 745, 771 (D. Md. 2014) (citing Carey v.

Piphus, 435 U.S. 247, 266, 98 S. Ct. 1042 (1978); Norwood v. Bain, 166 F.3d 243, 254 (4th

Cir.1999)); see also Farrar v. Hobby, 506 U.S. 103, 112, 113 S. Ct. 566, 121 L.Ed.2d 494

(1992) (“Carey obligates a court to award nominal damages when a plaintiff establishes the

violation of [a constitutional right] but cannot prove actual injury.”); Covenant Media of SC,

LLC v. City of North Charleston, 493 F.3d 421, 428 (4th Cir. 2007) (citing Carey for the

proposition that the plaintiff would be entitled to at least nominal damages if it showed that

it “suffered an actual injury by the City’s application of an unconstitutional ordinance”).

        The Defendant argues that these nine Plaintiffs are not entitled to even nominal

damages because this action involved only the facial constitutionality of the Ordinance, and

therefore the Plaintiffs have failed to “demonstrate and show that the allegedly

unconstitutional ordinance or statute was actually applied to and enforced against” the

Plaintiffs. (Def.’s Resp., ECF No. 108-1 at 4 (citing CMR D.N. Corp. v. City of Philadelphia,

703 F.3d 612, 627–28 (3rd Cir. 2013); Ezell v. City of Chicago, 651 F.3d 684, 698 (7th Cir.

2011); Craft v. Vill. of Lake George N.Y., 39 F. Supp. 3d 229, 240 (N.D.N.Y. 2014) (emphasis

in original)).

        While this Court’s Memorandum Opinion and Order only addressed the facial

constitutionality of the Ordinance, that is not to say that the record does not support that

the Ordinance in fact “prevented the [Plaintiffs] from exercising their First Amendment

rights in some concrete and demonstrated way.” (Def.s’ Resp., ECF No. 108-1 at 6.) In one

of the cases the Defendant cites, CMR D.N. Corp. v. City of Philadelphia, 703 F.3d 612, 627–28

(3rd Cir. 2013), the United States Court of Appeals for the Third Circuit affirmed the district


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court’s conclusion that nominal damages were not available to a plaintiff challenging the

facial constitutionality of an ordinance when it was “undisputed that [the plaintiff] never

sought and was not denied a building permit under the” challenged ordinance. 703 F.3d at

628. Accordingly, the court concluded, “[t]hat a legislature may enact a zoning law that if

applied to someone would violate due process does not entitle any individual who finds it

offensive, including those never subjected to the ordinance, to nominal damages.” Id.

       Unlike in CMR, the Defendant clearly does not dispute that from July of 2015

through this Court’s Opinion, the Ordinance was in effect and the registration and time,

place, and manner restrictions were enforced. As explained above, the Plaintiffs, through

their affidavits submitted with their Motion for Summary Judgment, describe how they were

each personally affected by many of the Ordinance’s restrictions that this Court found

facially unconstitutional. (ECF Nos. 79-12-79-20.) Their affidavits, which were never

challenged during the summary judgment proceedings, are sufficient to show that they each

“suffered a specific deprivation pursuant to the unconstitutional statute or procedures.”

CMR, 703 F.3d at 628. While again the Plaintiffs offer to file a Surreply with additional

evidence, the uncontested affidavits are sufficient to show that the Ordinance affected each

of their rights to free speech.

       Accordingly, although the remaining Plaintiffs have not shown “actual injury,” they

have shown a violation of their constitutionally protected rights and are each entitled to one

hundred dollars ($100.00) in nominal damages. See Reyes v. City of Lynchburg, 300 F.3d 449,

453 (4th Cir. 2002) (“Nominal damages may be available in a § 1983 case if a plaintiff was

deprived of an absolute right yet did not suffer an actual injury.”) (citation omitted); see also


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Tepeyac v. Montgomery Cty., 5 F. Supp. 3d 745, 771 (D. Md. 2014) (“[I]n a case in which a

plaintiff’s civil rights are found to have been violated, it is appropriate to award nominal

damages.”) (citation and quotations omitted); Pelphrey v. Cobb County, Ga., 547 F.3d 1263,

1282 (11th Cir. 2008) (“Because the taxpayers proved a constitutional violation, they are

entitled to nominal damages.”). Therefore, the Plaintiffs Jim Starck, Bill Campion, Sr., Don

Bloom, Joseph Smith, Mike Moeller, Alexandra Dawson, Anthony Button, Alex Young and

Mark Chase are each awarded one hundred dollars ($100.00) in nominal damages.

                                      CONCLUSION

       For the reasons stated above, the Plaintiffs’ Motion for Judgment (ECF No. 106) is

GRANTED. Accordingly, compensatory damages are entered in the amount of $200.00

with respect to the Plaintiff Christ, and $100.00 to each of the remaining Plaintiffs with the

exception of the now pro se Plaintiff Ionescu.

A separate order follows.

December 27, 2018                                        _/s/___________________

                                                         Richard D. Bennett
                                                         United States District Judge




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